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            8                              UNITED STATES DISTRICT COURT
            9                           NORTHERN DISTRICT OF CALIFORNIA
           10                                   OAKLAND DIVISION
           11    ROBERT ROSS,                              CASE NO. 4:19-CV-06669 (JST)
           12                     Plaintiff,               JOINT CASE MANAGEMENT
                                                           STATEMENT & [PROPOSED] ORDER
           13         v.
                                                           Hearing:
           14    AT&T MOBILITY LLC, ONE TOUCH              Date: April 20, 2021
                 DIRECT, LLC, and ONE TOUCH DIRECT –       Time: 2:00 PM
           15    SAN ANTONIO, LLC,                         Place: Videoconference
                                                           Judge: Judge Jon S. Tigar
           16                     Defendants.
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Gibson, Dunn &
Crutcher LLP

                            JOINT CASE MANAGEMENT STATEMENT – CASE NO. 4:19-CV-06669 (JST)
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            1           Pursuant to Civil Local Rule 16-10 and this Court’s October 23, 2020 Order, Plaintiff Robert
            2    Ross (“Mr. Ross”), Defendant AT&T Mobility LLC (“AT&T”), and Defendants One Touch Direct,
            3    LLC and OneTouch Direct – San Antonio LLC (collectively, “One Touch”) hereby submit this Joint
            4    Case Management Statement and Proposed Order. This Joint Case Management Statement identifies
            5    subjects covered by the initial Joint Case Management Statement and Order as to which there are
            6    updates or changes since the updated Joint Case Management Statement filed January 5, 2021. Where
            7    the parties have disagreements in their respective submissions below, the fact that any assertion in
            8    either submission is not addressed or refuted by the opposing party does not reflect that party’s
            9    agreement to the assertion at issue.
           10                I. PROGRESS AND CHANGES SINCE LAST STATEMENT WAS FILED
           11    A.      MOTIONS
           12           1.      Changes Since Last Statement Was Filed With Respect To Potential Future
                                Motions
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                        Mr. Ross and AT&T have filed a pending joint administrative motion to file under seal their
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                 joint discovery letter brief to before Magistrate Judge Ryu. AT&T and One Touch also anticipate each
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                 filing a motion for summary judgment at an appropriate time. The parties anticipate that they may also
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                 have to file further discovery motions if the meet and confer process does not resolve discovery
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                 disputes.
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                        The parties also anticipate needing to file a motion to adjust the schedule for this case. After
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                 One Touch was added as a defendant in this case, the parties stipulated to an extension of discovery
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                 from April 9 to July 8, with a trial setting in February 2022. However, that discovery extension now
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                 appears to be inadequate, given that no documents have yet been produced between One Touch Direct,
           22
                 and Mr. Ross and AT&T still have disputes over document production. Accordingly, the parties
           23
                 anticipate proposing an extension to the case schedule to address this issue.
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                 B.          AMENDMENT OF PLEADINGS
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                        AT&T filed its answer to Mr. Ross’s First Amended Complaint on January 12, 2021. One
           26
                 Touch filed its answer to the same on January 29, 2021.
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                                 JOINT CASE MANAGEMENT STATEMENT – CASE NO. 4:19-CV-06669 (JST)
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            1    C.      DISCOVERY AND DISCLOSURES
            2            Mr. Ross served his second set of requests for production and interrogatories on AT&T on
            3    March 10, 2021, and AT&T served its responses and objections on April 9, 2021. AT&T anticipates
            4    serving its second set of requests for production and interrogatories on Mr. Ross in the next week.
            5            Mr. Ross served discovery to One Touch, with its responses due on May 7, 2021.
            6            One Touch also served discovery on Mr. Ross on March 22, 2021, with Mr. Ross’s responses
            7    due in April 2021. One Touch also anticipates serving discovery to AT&T within the next week.
            8            AT&T recently served a third production in response to Mr. Ross’s requests for production and
            9    interrogatories on March 30, 2021, and a fourth production on April 10, 2021.
           10            Finally, on March 23, 2021, Mr. Ross and AT&T filed a pending joint discovery letter brief
           11    before Magistrate Judge Ryu.
           12            The parties continue to engage in the meet and confer process with respect to their respective
           13    responses to written discovery. The parties anticipate that the current discovery schedule (with a close
           14    of fact discovery on July 8, 2021) will be difficult or impossible to maintain. As noted above, One
           15    Touch and Mr. Ross are just beginning to discover documents from each other, and Mr. Ross and
           16    AT&T already have one discovery dispute before Magistrate Judge Ryu; more disputes may develop.
           17    D.      ADR OPTIONS
           18            The parties completed a private mediation in September 2020, which was ultimately
           19    unsuccessful. The parties are amenable to the Court scheduling a settlement conference before a
           20    magistrate judge prior to trial.
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            1    Dated: April 13, 2021                   By: /s/ Ashley E. Johnson
                                                         Marcellus McRae
            2                                            Ashley E. Johnson
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           12                                            By:    /s/ Christopher Grivakes
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           19                                            Attorney for Plaintiff ROBERT ROSS
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                                JOINT CASE MANAGEMENT STATEMENT – CASE NO. 4:19-CV-06669 (JST)
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            1                                   By: /s/ Kevin T. Collins
            2                                   Kevin T. Collins
                                                Alissa R. Pleau-Fuller
            3
                                                Mikhail Parnes
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                                                KEVIN T. COLLINS (SBN: 185427)
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           10                                   Attorneys for Defendants ONE TOUCH DIRECT, LLC,
                                                and ONETOUCH DIRECT- SAN ANTONIO LLC
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            1                                         FILER’S ATTESTATION
            2           Pursuant to Civil Local Rule 5-1(i)(3), Ashley E. Johnson hereby attests that concurrence in
            3    the filing of this document has been obtained from all the signatories above.
            4

            5    Dated: April 13, 2021                        /s/ Ashley E. Johnson
                                                              Ashley E. Johnson
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            1                             [PROPOSED] CASE MANAGEMENT ORDER
            2           The above JOINT CASE MANAGEMENT STATEMENT is approved as the Case

            3    Management Order for this case and all parties shall comply with its provisions.

            4

            5    IT IS SO ORDERED.

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                  Dated: ________________, 2021
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                                                                         HON. JON S. TIGAR
           11
                                                                   UNITED STATES DISTRICT JUDGE
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Crutcher LLP                                                      7
                                JOINT CASE MANAGEMENT STATEMENT – CASE NO. 4:19-CV-06669 (JST)
